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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           :
                                                   :
                                                   :
        v.                                         :   Case No. 21-cr-26 (CRC)
                                                   :
CHRISTOPHER MICHAEL ALBERTS,                       :
                                                   :
         Defendant.                                :

                  GOVERNMENT’S RESPONSE TO DEFENDANT’S
             MOTION FOR MODIFICATION OF CONDITIONS OF RELEASE

        On December 20, 2022, defendant Christopher Alberts filed “Defendant’s Emergency

Unopposed Motion For Temporary Modification of Pretrial Release Conditions.” See ECF No. 82.

Despite the title of the Motion, counsel for Alberts has not consulted with either attorney who has

entered an appearance on behalf of the United States regarding the relief sought therein.

        The United States is unaware of the nature of the “new information that merits a change in

the terms of his release,” other than the representations set forth in the court-filed motion. Id. at 2.

Accordingly, the United States takes no position as to whether Alberts has established that his GPS

monitoring device should be removed on January 6, 2023, the two year anniversary of his alleged

crimes, or that his request constitutes an “emergency” requiring the Court’s immediate attention.

                                                Respectfully submitted,

                                                MATTHEW M. GRAVES
                                                United States Attorney
                                                DC Bar No. 481052

                                                /s/ Jordan A. Konig
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